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                                                                                             E-FILED
AO 450 (Rev. 5/85) Judgment in a Civil Case                  Wednesday, 24 June, 2009 11:33:21 AM
                                                                     Clerk, U.S. District Court, ILCD



                     United States District Court
                                   CENTRAL DISTRICT OF ILLINOIS



                             JUDGMENT IN A CIVIL CASE


Henry E. Watters

                       vs.
                                                                              Case Number:   09-1115

Deathridge, et al.




 DECISION BY THE COURT. This action came before the Court. The issues have been heard and a
decision has been rendered.


     IT IS ORDERED AND ADJUDGED that this case is dismissed for failure to exhaust administrative
remedies as required pursuant to 42 U.S.C., Section1997e(a). The parties are to bear their own costs.


                                                ENTER this 24th day of June, 2009


                                              PAMELA E. ROBINSON, CLERK


                                                       s/M. Bailey
                                                   BY: DEPUTY CLERK
